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8                                UNITED STATES DISTRICT COURT

 9                              CENTRAL DISTRICT OF CALIFORNIA

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11    JOHN STEVEN JAMES,                             Case No. 5:20-00440 CJC (ADS)

12                                 Plaintiff,

13                                 v.                ORDER ACCEPTING UNITED STATES
                                                     MAGISTRATE JUDGE’S REPORT AND
14    COIS BYRD DETENTION CENTER, et al.             RECOMMENDATION

15                                 Defendants.

16

17           Pursuant to 28 U.S.C. § 636, the Court has reviewed the Second Amended

18    Complaint filed by Plaintiff John Steven James, (Dkt. No. 41), the Report and

19    Recommendation of United States Magistrate Judge, (Dkt. No. 47), and the record in

20    this case. A review of the docket reflects that Plaintiff did not file objections to the

21    Report and Recommendation, and the deadline for filing objections has passed.

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24    //
     Case 5:20-cv-00440-CJC-ADS Document 49 Filed 09/22/21 Page 2 of 2 Page ID #:229




 1          Accordingly, IT IS HEREBY ORDERED:

 2          1.    The Report and Recommendation of United States Magistrate Judge, (Dkt.
                  No. 47), is accepted;
 3
            2.    The case is dismissed in its entirety for failure to prosecute and comply
 4                with court orders pursuant to Federal Rule of Civil Procedure 41(b); and

 5          3.    Judgment is to be entered accordingly.

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 7    DATED: September 22, 2021              ______________________________
                                             THE HONORABLE CORMAC J. CARNEY
8                                            United States District Judge

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